Filed 08/10/20                                                         Case 20-22523                              Doc 27

     FORM EDC 6−632 Order Closing Case Where Case Has Been Dismissed (v.8.14)                       20−22523 − A − 7
                   UNITED STATES BANKRUPTCY COURT
                        Eastern District of California
                               Robert T Matsui United States Courthouse
                                       501 I Street, Suite 3−200
                                        Sacramento, CA 95814
                                           (916) 930−4400
                                       M−F 9:00 AM − 4:00 PM
                                       www.caeb.uscourts.gov



                       ORDER CLOSING CASE WHERE CASE HAS BEEN DISMISSED


     Case Number:            20−22523 − A − 7
     Debtor Name(s) and Address(es):


        Julia B Dunisch
        110 Olivadi Way
        Sacramento, CA 95834




        WHEREAS, an order has heretofore been entered dismissing case,

        IT IS ORDERED that the above−entitled case be and the same is hereby closed.



     Dated: 8/10/20                                                             Wayne Blackwelder
                                                                                Clerk of Court
